Case 1:20-cv-23631-AMC Document 34 Entered on FLSD Docket 02/02/2021 Page 1 of 2

                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

 Angela E. Noble                                                                  400 North Miami Avenue, Room 8N09
 Court Administrator • Clerk of Court                                                       Miami, Florida 33128−7716
                                                                                                        (305)523−5100



                                              Date: February 2, 2021




 Attn: Civil Correspondence Clerk
 Clerk of Circuit and County Courts
 138 Dade County Courthouse
 73 West Flagler Street
 Miami, FL 33130


 RE: District Court Case No.: 1:20−cv−23631−AMC

      State Court Case No.: 18−039581−CA




 Dear Sir/Madam:

 Pursuant to 28 U.S.C. §1447, a certified copy of the District Court's Order of Remand must be mailed to

 to the Clerk of the State Court.


 Please acknowledge receipt of the Order in the above referenced case by signing and returning the enclosed

 copy of this letter.




 Angela E. Noble, Clerk of Court

 By /s/ Ahlai Israel
 Deputy Clerk
Case 1:20-cv-23631-AMC Document 34 Entered on FLSD Docket 02/02/2021 Page 2 of 2

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                                                          Clerk's Acknowledgment of Receipt
                                                          The undersigned hereby ackonwledges receipt of the

                                                          District Court's certified copy of the Order of Remand.

                                                          By:_________________________________
                                                            Deputy Clerk

                                                          On:___________________



 Angela E. Noble, Clerk of Court

 By /s/ Ahlai Israel
 Deputy Clerk
